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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                 Case No. 21-cv-21940-BLOOM/Torres

  NEIMA BENAVIDES, as Personal
  Representative of the Estate of Naibel
  Benavides Leon, deceased, and
  DILLON ANGULO

            Plaintiffs,

  v.

  TESLA, INC., a/k/a. Tesla Florida, Inc.,

         Defendant.
  _________________________________/

                          ORDER ON ADMISSIBILITY OF OTHER ACCIDENTS

            THIS CAUSE is before the Court upon Plaintiffs Neima Benavides, as personal

  representative of the Estate of Naibel Benavides Leon, and Dillon Angulo’s (“Plaintiffs”)

  Response to the Court’s Order, ECF No. [433], Requiring Additional Information with Respect to

  Prior Accidents. ECF No. [441]. The Court permitted Tesla to file a Supplement Regarding the

  Admissibility of Other Accidents. ECF No. [452]. The Court has reviewed the supplemental filings

  and is otherwise fully advised. For the reasons that follow, Plaintiffs may only introduce evidence

  of the following other accidents: (1) the “Brown Crash,” (2) the “Kanagawa Japan Crash,” and (3)

  the “Banner Crash.” The Court finds Plaintiffs have not established that any other accidents are

  substantially similar to the subject collision in this case.

       I.   BACKGROUND

            This matter arises from a collision that occurred in Key Largo, Florida. George McGee

  owned a 2019 Tesla Model S (“Vehicle”) “equipped with automatic driving features, one of which

  Tesla termed ‘Autopilot,’ that could navigate without driver input.” ECF No. [205] at 3. On April
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  25, 2019, McGee was driving the Vehicle when it hit a parked Chevrolet Tahoe, which then struck

  Decedent Naibel Benavides Leon and Plaintiff Dillon Angulo, killing Benavides Leon and causing

  significant injuries to Angulo. See id. at 3-4.

         On April 22, 2021, Plaintiff Neima Benavides, as Personal Representative, brought this

  action against Tesla on behalf of the Estate of Decedent Naibel Benavides Leon in the Circuit

  Court for Miami-Dade County, Florida, alleging automotive product liability claims against Tesla.

  ECF No. [1-1]. Tesla removed the action to this Court on May 25, 2021. ECF No. [1]. On August

  16, 2022, Plaintiff Dillon Angulo initiated a similar automotive products liability action against

  Tesla in this district, Case No. 22-cv-22607-KMM. See 22-cv-22607, ECF No. [1]. The Court

  accepted the transfer of this case and consolidated both actions due to the overlapping issues

  presented. ECF No. [50].

         Plaintiffs filed a consolidated Amended Complaint on March 11, 2024, asserting the

  following claims against Tesla: Strict-Products-Liability—Defective Design (Count I), Failure to

  Warn (Count II), Defective Manufacture (Count III), and Negligent Misrepresentation (Count IV).

  See ECF No. [205] at 6, ¶¶ 39-46.

         On June 25, 2025, the Court granted summary judgment in favor of Tesla as to Count III

  (Defective Manufacture) and Count IV (Negligent Misrepresentation) while allowing Count I

  (Defective Design) and Count II (Failure to Warn) to proceed to trial. ECF No. [428]. The Parties

  are scheduled to begin trial on July 14, 2025. ECF No. [354]. In anticipation of the upcoming trial,

  the Parties submitted Motions in Limine. See ECF No. [329]; ECF No. [320]. The Court issued an

  Omnibus Order on the Parties’ Motions in Limine. ECF No. [433]. In the Omnibus Order, the

  Court attempted to address whether Plaintiffs would be permitted to introduce evidence of other

  car accidents at trial. However, the Court lacked sufficient information to determine whether the




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  car accidents were substantially similar to the subject collision in this case. Accordingly, the Court

  ordered Plaintiffs to “provide the Court with all the relevant facts regarding the accidents they seek

  to introduce at trial.” Id. at 31. Specifically, the Court directed Plaintiffs to provide the following

  information for each purportedly similar incident, “(1) the year and model of the vehicle; (2) the

  date of the incident; (3) any distinguishing features between the Autopilot in McGee’s Vehicle and

  the allegedly similar vehicle; (4) whether Autopilot technology was activated; (5) the type of

  collision (e.g., in-lane rear-end collision); (6) the purported defect in the ADAS technology; (7) a

  non-hearsay basis for the admission of the accident; and (8) any other facts or circumstances to

  assist the Court in determining whether those accidents are substantially similar.” Id. Plaintiffs

  filed the requested information on July 7, 2025. ECF No. [441].

            Plaintiffs’ supplemental brief included specific details regarding three prior accidents and

  a general overview of accidents contained in the National Highway Traffic Safety Administration

  (“NHTSA”) Reports and Tesla’s answer to requests for admissions. Tesla responded to Plaintiffs’

  supplement,1 wherein it argued that none of the accidents were substantially similar to the subject

  collision and must be excluded. See ECF No. [452].

      II.   LEGAL STANDARD

            A. Motions in Limine

            “In fairness to the parties and their ability to put on their case, a court should exclude

  evidence in limine only when it is clearly inadmissible on all potential grounds.” United States v.

  Gonzalez, 718 F. Supp. 2d 1341, 1345 (S.D. Fla. 2010). “The movant has the burden of

  demonstrating that the evidence is inadmissible on any relevant ground.” Id. “Unless evidence



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    At the Calendar Call held on July 8, 2025, the Court provided Tesla an opportunity to file a response to
  Plaintiffs’ supplemental briefing regarding the substantial similarity of the other accidents Plaintiffs seek
  to introduce at trial.


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  meets this high standard, evidentiary rulings should be deferred until trial so that questions of

  foundation, relevancy, and potential prejudice may be resolved in proper context.” In re Seroquel

  Prods. Liab. Litig., Nos. 6:06-md-1769-Orl-22DAB, 6:07-cv-15733-Orl-22DAB, 2009 WL

  260989, at *1 (M.D. Fla. Feb. 4, 2009). Likewise, “[i]n light of the preliminary or preemptive

  nature of motions in limine, ‘any party may seek reconsideration at trial in light of the evidence

  actually presented and shall make contemporaneous objections when evidence is elicited.’” Holder

  v. Anderson, No. 3:16-CV-1307-J-39JBT, 2018 WL 4956757, at *1 (M.D. Fla. May 30, 2018)

  (quoting Miller ex rel. Miller v. Ford Motor Co., No. 2:01CV545FTM-29DNF, 2004 WL

  4054843, at *1 (M.D. Fla. July 22, 2004)); see In re Seroquel., 2009 WL 260989, at *1 (“The court

  will entertain objections on individual proffers as they arise at trial, even though the proffer falls

  within the scope of a denied motion in limine.”) (citing United States v. Connelly, 874 F.2d 412,

  416 (7th Cir. 1989)).

         Evidence is admissible if relevant, and evidence is relevant if it has any tendency to prove

  or disprove a fact of consequence. Fed. R. Evid. 401, 402; Advisory Comm. Notes, Fed. R. Evid.

  401 (“The standard of probability under the rule is ‘more probable than it would be without the

  evidence.’”); United States v. Patrick, 513 F. App’x 882, 886 (11th Cir. 2013). A district court

  may exclude relevant evidence under Rule 403 if “its probative value is substantially outweighed

  by a danger of . . . unfair prejudice, confusing the issues, misleading the jury, undue delay, wasting

  of time, or needlessly presenting cumulative evidence.” Fed. R. Evid. 403. “Rule 403 is an

  extraordinary remedy which the district court should invoke sparingly, and the balance should be

  struck in favor of admissibility.” Patrick, 513 F. App’x at 886 (citing United States v. Lopez, 649

  F.3d 1222, 1247 (11th Cir. 2011)); see United States v. Alfaro-Moncada, 607 F.3d 720, 734 (11th

  Cir. 2010). Rule 403’s “major function . . . is limited to excluding matter of scant or cumulative




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  probative force, dragged in by the heels for the sake of its prejudicial effect[.]” United States v.

  Grant, 256 F.3d 1146, 1155 (11th Cir. 2001) (quoting United States v. Cross, 928 F.2d 1030, 1048

  (11th Cir. 1991)).

  III.    DISCUSSION

          A. References to Other Incidents

                  i. Substantial Similarity of the Brown, Kanagawa Japan, and Banner
                     Crashes

          In its Motion in Limine, Tesla sought to exclude evidence of all accidents involving Tesla

  vehicles beyond the subject collision. ECF No. [320] at 6. Tesla argued that such evidence is

  irrelevant as it does not tend to prove a defect in the design at issue. Moreover, Tesla maintained

  the evidence was not substantially similar “[g]iven the number of variables involved in any one

  incident.” Id. at 8. Plaintiffs argued in response that these other crashes are substantially similar

  and are highly relevant to the issue of whether Tesla was on notice of the alleged defects. ECF No.

  [348] at 1-4. Plaintiffs also asserted they intended to introduce NHTSA reports that “are admissible

  subject to the public records exception.” Id. at 5.

          In their supplemental response, Plaintiffs assert that they seek to introduce three primary

  accidents at trial—(1) the “Brown Crash,” (2) the “Kanagawa Japan Crash,” and (3) the “Banner

  Crash.” See ECF No. [441] at 2-3. Plaintiffs argue that all three crashes “highlighted Autopilot’s

  failure at object detection, emergency intervention, poor driver supervision and overly permissive

  operating capabilities.” Id. at 1.

          Turning first to the Brown Crash, Plaintiffs argue that the crash is substantially similar to

  the subject collision because the 2016 accident involved a 2015 Model S Tesla with Autopilot

  activated. The Tesla vehicle ultimately crashed, in part, because of the “driver’s inattention due to

  his over-reliance on vehicle automation.” Id. at 2. Plaintiffs claim the alleged defect is substantially



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  similar because the driver’s over-reliance on the vehicle’s automation was a result of Autopilot’s

  “operational design, which permitted his prolonged disengagement from the driving task and his

  use of automation in ways inconsistent with guidance and warnings from the manufacturer.” Id.

  According to Plaintiffs’ “Mr. McGee was just another Josh Brown, in a slightly different model,

  in a slightly different location, operating under slightly different software and hardware, but

  suffering from the same overreliance on Autopilot and misusing it in the same fashion.” Id.

         Plaintiffs next describe the Kanagawa Japan Crash. In that crash, “[t]he [2016] Tesla Model

  X was tailing a slower vehicle. When that vehicle signaled and moved to the left to bypass a road

  obstruction, the Tesla promptly accelerated to its previously set cruising speed.” Id. at 3. Plaintiffs

  maintain that the Kanagawa Japan Crash is substantially similar to the subject collision because,

  similar to the subject collision, Tesla’s sensors failed to detect a stationary vehicle, motorcycle, as

  well as pedestrians. See id.

         Finally, Plaintiffs describe the Banner Crash that occurred just a few months prior to the

  subject collision. Banner was driving a 2018 Tesla Model 3 and had engaged Autopilot

  approximately ten seconds before impact. “Banner removed his hands and never reengaged the

  wheel before his Tesla struck a semi-truck crossing a highway from a private drive, underriding

  the trailer and shearing off the roof at 68 miles per hour.” Id. at 3. According to Plaintiffs, similar

  to the subject collision, there was no evidence of evasive braking or steering by the Autopilot

  system or by the driver. Plaintiffs insist that this incident highlights the defect in “Tesla’s torque-

  based driver monitoring system which allowed for a prolonged, hands-off state without

  escalation[.]” Id. It also further demonstrates “Autopilot’s failure to detect a truck directly in its

  path of travel and its overly permissive operating capabilities allowing the system to operate on

  [a] divided highway [ ] with significant cross traffic and private driveways.” Id.




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          Plaintiffs claim the commonality between all three crashes and the subject collision is that,

  similar to the subject collision, Tesla’s Autopilot driver-monitoring system led the driver to either

  over rely on the system, or otherwise become distracted. The three other accidents also show

  substantially similar limitations in Tesla vehicles’ ability to detect obstacles, engage the emergency

  brakes, and take evasive measures to avoid potential collisions. Furthermore, Plaintiffs contend

  these incidents demonstrate a similar design flaw in allowing drivers to utilize Autopilot outside

  of their operational driving domain.

          Tesla responds that none of these three crashes is substantially similar to the subject

  collision for four key reasons. ECF No. [452] at 7-8. First, unlike the subject collision, none of the

  three crashes involved a driver who was pressing the accelerator, and therefore, the automatic

  braking system had not been disabled in the vehicles in those other accidents. See id. at 7. Second,

  none of the other accidents involved a driver who briefly looked away from the road to retrieve a

  dropped object. See id. at 8 Third, unlike McGee, none of the Tesla drivers in the other accidents

  had their hands on the wheel at the time of the incident. Id. Fourth, none of the vehicles crashed

  into a horizontally oriented vehicle on the side of the road.2 See id. Given those differences from

  the subject collision, Tesla argues that the purported similarities are merely superficial and,

  therefore, Plaintiffs cannot satisfy the substantial similarity requirements for any of the three

  accidents.

          It is well settled that “[e]evidence of other accidents may be relevant [and admissible] to

  show . . . the existence of a design defect.” Gardner v. Ford Motor Co., 166 F. Supp. 3d 1261,

  1269-70 (M.D. Fla. 2015) (quoting Miller ex rel. Miller v. Ford Motor Co., No. 2:01–cv–545,


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   Tesla also noted a number of other distinctions between the other accidents and the subject collision such
  as: (1) different year and models, (2) different version of the Autopilot Hardware and Software, (3) different
  versions of the Autopilot itself, (4) different firmware, and (6) different environmental factors and traffic
  conditions. See ECF No. [452] at 8-9.


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  2004 WL 4054843, at *3–4 (M.D. Fla. July 22, 2004)). Specifically, “evidence of similar accidents

  might be relevant to the defendant’s notice, magnitude of the danger involved, the defendant’s

  ability to correct a known defect, the lack of safety for intended uses, the strength of a product, the

  standard of care, and causation.” Jones v. Otis Elevator Co., 861 F.2d 655, 661 (11th Cir. 1988).

  “However, ‘[b]ecause there is a strong potential for prejudice resulting from the admission of

  evidence of other accidents,’ the Eleventh Circuit imposes special conditions on the admissibility

  of such evidence.” Jones, 861 F.2d at 661 (quoting Ford Motor Co., 2004 WL 4054843, at *3–4);

  see Heath v. Suzuki Motor Corp., 126 F.3d 1391, 1396 (11th Cir. 1997) (same). “[P]rior similar

  incidents illustrating a potential design defect are admissible [only] if (1) the proponent makes a

  showing that the prior accidents are substantially similar, (2) the prior accidents are not too remote

  in time, and (3) the probative value of the evidence outweighs any potential prejudice or

  confusion.” Crawford v. ITW Food Equip. Grp., LLC, 977 F.3d 1331, 1350 (11th Cir. 2020) (citing

  Sorrels v. NCL (Bahamas) Ltd., 796 F.3d 1275, 1287 (11th Cir. 2015); Borden, Inc. v. Fla. E.

  Coast Ry. Co., 772 F.2d 750, 755 (11th Cir. 1985)). The burden of satisfying all three requirements

  is on the party seeking admission of the allegedly similar accidents. See Gardner, 166 F. Supp. 3d

  at 1271; see also Nakajima v. Gen. Motors Corp., 857 F. Supp. 100, 102 (D.D.C. 1994) (“The

  burden is on the party seeking admission to prove that substantially similar circumstances exist.”).

  However, determinations of substantial similarity are ultimately subject to the court’s sound

  discretion. See Heath, 126 F.3d at 1395-96.

         “The ‘substantial similarity’ doctrine does not require identical circumstances, and allows

  for some play in the joints depending on the scenario presented and the desired use of the

  evidence.” Sorrels v. NCL (Bah.) Ltd., 796 F.3d 1275, 1287 (11th Cir. 2015). Consequently, “the

  central question is [whether] ‘the two incidents were similar enough to allow the jury to draw a




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  reasonable inference’ defendant has the ‘ability to foresee this type of’ incident.” Davis v. Little

  Giant Ladder Sys., LLC, No. 2:19-CV-780-SPC-NPM, 2022 WL 3924144, at *2 (M.D. Fla. Aug.

  31, 2022) (quoting Borden, Inc., 772 F.2d at 755). When determining the degree of similarity

  required, courts must consider “the purpose for which the evidence is offered[.]” Nakajima, 857

  F. Supp. at 102.

         Despite the differences identified by Tesla, the Court finds that the Brown Crash, the

  Kanagawa Japan Crash, and the Banner Crash are all substantially similar enough to the subject

  collision to be admissible. First, none of the accidents is too remote in time to be excluded. Each

  of the accidents occurred within three years of the subject collision. The Court also finds the

  remaining dissimilarities between other accidents and the subject collision go to the weight of the

  evidence, not the admissibility.

         Tesla points out that, unlike McGee, none of the drivers briefly looked away from the road

  and reached for an object on the floorboard. However, the substantial similarity doctrine does not

  require identical circumstances, but rather only relevantly substantially similar circumstances. In

  all three accidents, the Tesla drivers were distracted, notwithstanding Tesla’s driver monitoring

  system. One driver was watching a movie, one was asleep at the wheel, and the third was distracted

  for some indeterminate reason. The fact that all three drivers were distracted tends to show that

  Tesla was on notice prior to McGee’s accident that its monitoring and warning system did not

  ensure drivers were staying sufficiently engaged when utilizing their vehicle’s Autopilot system.

  See Sorrels, 796 F.3d at 1287-88 (explaining that dissimilarities are insubstantial for the purpose

  of notice where the similarities still make it reasonably foreseeable that the type of injury would

  occur) (citing Borden, 772 F.2d at 755). Accordingly, the fact that the accidents all involve

  distracted drivers is sufficiently similar to avoid exclusion.




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           Tesla also argues that the accidents are substantially different from the subject collision

   because none of the three accidents involved undetected traffic control signage, nor did the Tesla

   drivers strike a horizontally oriented vehicle off the side of the road. Again, those differences go

   to the weight of the evidence. Tesla has not shown that the orientation of the target vehicle would

   have made it more or less likely that its vehicles would identify a target vehicle as a dangerous

   obstacle.3 Moreover, the presence of traffic control signage suggests that there was an even greater

   reason for Autopilot to have warned McGee or otherwise avoided the collision. Therefore, the

   absence of any traffic signage in the three other accidents is not a difference that would unfairly

   prejudice Tesla.

           Tesla’s final two distinctions—McGee’s foot on the accelerator and hands on the wheel—

   do not warrant exclusion of the alleged similar accidents either.4 While it may be true that McGee’s

   foot on the accelerator might have overridden “the TACC (i.e., [the] longitudinal speed control)

   function, essentially turning that feature off,” the complete disablement of the TACC function is a

   material fact in dispute, and thus, the materiality of the difference turns on the jury’s findings of

   fact at trial. ECF No. [452] at 3. As such, the difference cannot serve as a basis for excluding the

   evidence.

           Moreover, even assuming McGee’s utilization of the accelerator in the moments before the

   subject collision completely disabled the TACC function, according to Tesla, the disablement only


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     Similarly, the fact that the McGee was driving off the roadway toward a large object seems to suggest that
   it is more likely that Autopilot would detect an anomaly compared with a vertically oriented vehicle
   Autopilot would reasonably expect to be in front of it on the roadway.
   4
     As for the remaining “significant distinguishing characteristics” identified by Tesla in the table on page 8
   of its supplemental briefing, the Court does not find those differences to be substantial. See ECF No. [452]
   at 8-9. Tesla fails to offer a reason why those differences materially distinguish the other accidents from
   the subject collision, specifically with respect to the purpose the evidence of the other accidents is being
   offered. As such, the Court does not find that those differences warrant exclusion of the Brown, Kanagawa
   Japan, or Banner accidents.


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   impacted the automatic emergency braking system. See ECF No. [452] at 3. However, Plaintiffs

   contend that there were several other defects in Autopilot’s design besides its failure to trigger the

   automatic emergency brakes. Plaintiffs also argue that Autopilot was defective because: (1) it

   made McGee more distracted than he otherwise would have been, (2) it could be used outside of

   its Operational Design Domain, and (3) the system failed to adequately warn McGee of the

   dangerous obstacles in his path. See ECF No. [428]. As the Court previously explained, when

   deciding whether an accident is substantially similar, the Court must consider the purpose for

   which the evidence is being offered. See Nakajima, 857 F. Supp. at 102; Cf. Sorrels, 796 F.3d at

   1287-88. Since Plaintiffs are arguing that these accidents put Tesla on notice of multiple different

   defects in Autopilot’s design, it is not dispositive that there is a difference with respect to one

   alleged defect, so long as the accidents are otherwise substantially similar. See Sorrels, 796 F.3d

   at 1287 (explaining that substantial similarity determination depends “on the scenario presented

   and the desired use of the evidence”). Thus, while McGee’s use of the accelerator may limit how

   Plaintiffs may use the evidence of these other accidents at trial, this difference does not foreclose

   Plaintiffs from introducing the evidence to prove the existence or notice of some other alleged

   defect. See Gonzalez, 718 F. Supp. 2d at 1345 (“The movant has the burden of demonstrating that

   the evidence is inadmissible on any relevant ground.”).

          The fact that McGee had his hands on the wheel while the other three drivers did not is

   similarly unpersuasive to warrant exclusion of those other accidents. The fact that all four Tesla

   drivers were distracted in the moments before their respective crashes, regardless of whether the

   Autopilot system detected their hands on the wheel, shows that the purported dissimilarity is

   insubstantial in determining whether it was reasonably foreseeable that Autopilot’s design causes




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   drivers to become over-reliant on assistive driving features, thereby failing to pay adequate

   attention to the road.

          Accordingly, the Court finds the Brown Crash, the Kanagawa Japan Crash, and the Banner

   Crash are substantially similar to the subject collision, occurred sufficiently close in time to the

   subject collision, and their admission would not unduly prejudice Tesla.

                  ii. Use of Government Investigations to Introduce Evidence of the Brown,
                      Kanagawa Japan, and Banner Crashes

          While Plaintiffs may introduce evidence of the Brown, Kanagawa Japan, and Banner

   crashes, Plaintiffs may not rely on inadmissible records to introduce those incidents. As Tesla

   correctly points out, NTSB Board Reports and Recommendations are not admissible at trial and

   witnesses may not rely on such reports to give testimony about another accident. See ECF No.

   [444] at 9-10; see also Specter v. Texas Turbine Conversions, Inc., No. 3:17-CV-00194-TMB,

   2020 WL 7701484, at *3 (D. Ala. Dec. 28, 2020) (“Federal regulations prevent “Board accident

   report[s]” from being admitted as evidence[.]”); United States Aviation Underwriters, Inc. v.

   Aerospatiale, Societe Nationale Industrielle, S.A., No. CIV 02-0824-PHX-EHC, 2005 WL

   8161454, at *5 (D. Ariz. Nov. 1, 2005) (“An expert, therefore, cannot offer an opinion in a civil

   action for damages if the opinion is based on an NTSB report containing the NTSB’s

   determinations or conclusions.”) (citing Curry v. Chevron, USA, 779 F.2d 272, 274 (5th Cir.

   1985)); Credle v. Smith & Smith, Inc., 42 F. Supp. 3d 596, 599 (D.N.J. 2013) (“The clear language

   of 46 U.S.C. § 6308(a) and 49 U.S.C. § 1154(b) mandates that expert reports based on . . . NTSB

   reports, which rely on the information and conclusions contained in those reports, may not be

   introduced into evidence in a subsequent civil trial.”). Only NTSB “Factual Accident Reports” are

   admissible at trial. Chiron Corp. & PerSeptive Biosystems v. Nat’l Transp. Safety Bd., 198 F.3d

   935, 940–41 (D.C. Cir. 1999) (“A ‘factual accident report,’ on the other hand, is ‘an investigator’s



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   report of his investigation of the accident.’ [ ] Because this report is not a ‘report of the Board,’ it

   is not barred by the statute and is therefore admissible. . . . [T]he only reports that are admissible

   ‘are the factual reports that investigators do, not the Board’s findings, either factual or probable

   cause, but what individual investigators find[.]”).

           Accordingly, while Plaintiffs may utilize the NTSB investigator’s factual accident reports,5

   Plaintiffs “are precluded from referencing the NTSB Board’s Accident Reports, the legal

   conclusions, opinions, or probable cause determinations of the NTSB before the jury.” Escobar v.

   Nevada Helicopter Leasing LLC, No. CV 13-00598 HG-WRP, 2020 WL 104672, at *3–4 (D.

   Haw. Jan. 8, 2020) (citing Dowe v. Nat’l Railroad Passenger Corp., 2004 WL 1375692, *6-7

   (N.D. Ill. May 28, 2004)). 6

                   iii. Introduction of All Other Purportedly Substantially Similar Accidents.

           In addition to the three crashes outlined above, Plaintiffs also seek to introduce the NHTSA

   factual findings regarding “two ‘collections’ of other incidents.” ECF No. [452] at 9. The first is

   “211 frontal plane crashes where a vehicle on Autopilot struck an object or person in its path.”

   ECF No. [441] at 7. The second is the “18 accidents addressed in Tesla’s answers to requests for

   admission.” Id. at 8. The Court finds that Plaintiffs have not satisfied their burden to show

   substantial similarity with respect to these two remaining collections of accidents. Plaintiffs argue

   that all 229 accidents are substantially similar to the subject collision because in all of the

   accidents, Autopilot was activated but failed to avoid the accident. Additionally, the drivers in


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     “A NTSB ‘Factual Accident Report’ is defined in the federal regulations as ‘the report containing the
   results of the investigator’s investigation of the accident.’” Escobar v. Nevada Helicopter Leasing LLC,
   No. CV 13-00598 HG-WRP, 2020 WL 104672, at *4 (D. Haw. Jan. 8, 2020) (quoting 49 C.F.R. § 835.2).
   6
    To be clear, the Court’s decision does not preclude Plaintiff from relying on NHTSA reports, only NTSB
   Board reports. See Noel v. Ford Motor Co., No. 611CV370ORL28DAB, 2013 WL 12160973, at *1 (M.D.
   Fla. May 7, 2013) (finding NHTSA reports admissible).



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   each of the accidents were found not to be sufficiently engaged in the driving task. See ECF No.

   [441] at 7-8.

           However, Plaintiffs have failed to provide sufficient evidence to establish substantial

   similarity.7 The Court specifically requested the following information it needed in order to

   determine whether the accidents were substantially similar to the subject collision: “(1) the year

   and model of the vehicle; (2) the date of the incident; (3) any distinguishing features between the

   Autopilot in McGee’s Vehicle and the allegedly similar vehicle; (4) whether Autopilot technology

   was activated; (5) the type of collision (e.g., in-lane rear-end collision); (6) the purported defect in

   the ADAS technology; (7) a non-hearsay basis for the admission of the accident; and (8) any other

   facts or circumstances to assist the Court in determining whether those accidents are substantially

   similar.” ECF No. [433] at 31. With respect to the 229 incidents at issue, Plaintiffs failed to provide

   the year and model of the vehicles, whether the accidents occurred before or after the subject

   collision, what changes had been made to Autopilot’s design, the nature of the accident, what kind

   of object the vehicle collided with, nor any other circumstances of the accidents. While “[t]he

   substantial similarity doctrine does not require identical circumstances, Sorrels, 796 F.3d at 1287,

   it requires “more than the mere previous occurrence of a similar incident.” Dunkley v. C.I.E.

   Trans., Inc., Civ. Act. No. 1:18-CV-116, 2019 WL 13083583, at *3 (N.D. Ga. Apr. 29, 2019)

   (internal citations and quotations omitted). The movant must show that “the conditions of the

   things to be compared are substantially similar.” Id. With so much critical information missing,

   the Court is unable to determine whether the accidents occurred under substantially similar

   circumstances. See Gardner, 166 F. Supp. 3d at 1270, 1274-75 (excluding accidents for failure to


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     Although Plaintiffs seek to introduce the NHTSA report of the 211 accidents and not the accidents
   themselves, the report is still subject to the substantial similarity doctrine. See Fox v. General Motors LLC,
   Civ. Act. No. 1:17-CV-209,2019 WL 3483171, at *27 (N.D. Ga. Feb. 4, 2019) (citing Hockensmith v. Ford
   Motor Co., No. 03-13729, 116 F. App’x 244, *11 (11th Cir. Aug. 5, 2004)).


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   provide basic factual information relevant to the substantial similarity analysis). Although any

   differences between the subject collision and these 229 other accidents with respect to this missing

   information may not be dispositive as to whether the accidents are substantially similar, the lack

   of information prevents the Court from determining whether any of the differences are indeed

   material. Accordingly, the Court precludes Plaintiffs from introducing the 229 accidents or the

   NHTSA report analyzing the accidents at trial.

   IV.    CONCLUSION

          Accordingly, it is ORDERED AND ADJUDGED that:

           1. Plaintiffs may only introduce evidence of the Brown, Kanagawa Japan, and Banner

               Crashes. Evidence of any other accidents is EXCLUDED.

           2. Plaintiffs may not introduce or otherwise rely on NTSB Board Reports to introduce

               evidence regarding the Brown, Kanagawa Japan or Banner Crashes.

          DONE AND ORDERED in Chambers at Miami, Florida, on July 13, 2025.




                                                           _________________________________
                                                           BETH BLOOM
                                                           UNITED STATES DISTRICT JUDGE

   cc:    counsel of record




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